    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 1 of 9 PageID #:595




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 KI CHUL SEONG, an individual,                   )
 and OPEC ENGINEERING CO., LTD.,                 )
 a Korean Corporation,                           )
                                                 )
                Plaintiffs,                      )
                                                 )
        v.                                       )       No. 15 CV 2234
                                                 )
 PAPS USA, LLC.,                                 )       Honorable Judge Manish Shah
 an Illinois Limited Liability Company;          )
 PUNGKUK EDM WIRE                                )       Magistrate Daniel Martin
 MANUFACTURING CO.,                              )
 a Korean Corporation; MACT CO., LTD,            )
 a Korean Corporation;                           )
 and DOES 1 through 10, inclusive,               )
                                                 )

                Defendants.

                PLAINTIFFS’ MOTION TO EXTEND CASE DEADLINES

      (INCLUDING FINAL INFRINGEMENT CONTENTIONS AND FINAL NON-
       INFRINGEMENT, UNENFORCEABILITY, INVALIDITY CONTENTIONS)

       Plaintiffs KI CHUL SEONG and OPEC ENGINEERING CO., LTD. (“Plaintiffs”)

hereby move this Court for the entry of an Order extending the current case deadlines by about

90 days, as provided below. The parties have complied with Local Rule 37.2 through multiple

telephone calls and drafts of motions in an effort to reach agreement.

       This motion is being filed after more than a week of unsuccessful efforts to agree on an

unopposed or joint motion to request extensions of case deadlines. With the consent of

Defendants, Plaintiffs prepared drafts of both unopposed and joint motions without agreement by

the parties. Thereafter, Defendants proposed substantial deletions, additions and modifications

to a final joint motion prepared by Plaintiffs. Plaintiffs did not agree with most of the changes.


                                                 1
     Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 2 of 9 PageID #:596



In view of the foregoing, the parties have been unable to agree to a final version of a joint motion

after much effort. This motion, which has been discussed with opposing counsel, by Plaintiffs’

counsel is the result.

        In support of this motion, Plaintiffs state the following facts (most of which are supported

by the declaration and exhibits attached hereto and cited herein):

        1.      This is the third request for extensions of the case deadlines in this case. The

previous two extension requests were for about 30 days each. The present case deadlines and the

proposed new deadlines are provided at the end of this motion.

        2.      Based on this Court’s order dated December 4, 2017, Plaintiffs’ Final

Infringement Contentions (“FICs”) required by Patent Local Rule (“LPR”) 2.2 and LPR 3.1 of

this Court were due on January 19, 2018, and were served by Plaintiffs on that date. A copy of

Plaintiffs’ FICs, as served to Defendants on January 19, 2018, is attached hereto as Exhibit A.

As can be seen in Exhibit A, Plaintiffs have provided in their FICs extensive information

concerning alleged infringement.

        3.      It is now almost a month and a half since Plaintiffs’ FICs were due and served

under the current deadlines. In view of that situation, Plaintiffs would have only about a month

and a half to serve Plaintiffs’ supplemental FICs even if Defendants provided all requested

discovery documents under the proposed extensions in this motion. That is true even though

Plaintiffs have not yet been served with the discovery documents necessary to complete the FICs

and that Plaintiffs requested in 2015.

        4.      As Plaintiffs stated at several points in their FICs (Exhibit A), Plaintiffs were

unable to provide all information called for in LPR 2.2 because Plaintiffs needed specified

information from Defendants in Defendants’ discovery responses (i.e., document requests and/or



                                                  2
    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 3 of 9 PageID #:597



interrogatory responses). For example, four of the asserted patent claims in this case are method

of manufacture claims (i.e., claims 1 through 4 and 6 of U.S. Patent No. 6,306,523; see Exhibit

B attached hereto) for electrical discharge machining (“EDM”) wires. The only way that

Plaintiffs could provide complete information in Plaintiffs’ FICs concerning the allegedly

infringed method claims is to receive, through discovery, Defendants’ manufacturing method

specifications for its EDM wires. As provided below, Plaintiffs propounded the requisite

discovery to obtain those specifications and has not yet been served with the responsive

specifications.

       5.         Plaintiffs also sought, in discovery, technical specifications and related documents

concerning all of the remaining patent claims asserted in this case, namely the asserted EDM

wire product claims and has not yet received those specifications. See, e.g., claims 14-18 of U.S.

Patent No. 6,306,523; claims 1-5 of U.S. Patent No. 6,482,535; and claims 2, 5, 7, 8 and 10 of

U.S. Patent No. 6,492,036). The patents in suit are Exhibits B through D attached hereto.

Letters exchanged between the parties that discuss the foregoing issues are provided as Exhibits

E and F below.

       6.         By way of example, one of Plaintiffs’ document requests provides as follows:

“REQUEST FOR PRODUCTION NO. 7:

       All DOCUMENTS AND THINGS CONCERNING the manufacture of the ACCUSED

PRODUCTS, including (but not limited to) procedures, instructions, specifications, and

drawings.” [emphasis added] See Exhibit G (excerpts of Plaintiffs’ first set of document

requests).

       According to the definition provided in the document requests [see Exhibit G], the

“ACCUSED PRODUCTS” include “electrical discharge machining (‘EDM’) wire product or



                                                   3
    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 4 of 9 PageID #:598



products designated as GAMMA-X, GAMMA BRASS, and any other products having the same

or similar construction and function.” See Exhibit G. The GAMMA-X and GAMMA BRASS

products were the only specific EDM wire products manufactured and sold by Defendants that

were known by Plaintiffs to be infringing at the time Defendants’ document requests were

propounded in 2015. Other allegedly infringing products have now been identified in this case.

Most of those products are identified in Plaintiffs’ FICs. See Exhibit A. At least two additional

allegedly infringing products have been identified, so far, in the discovery documents produced

by Defendants on January 12, 2018. Samples of those products have not yet been produced by

Defendants.

       To summarize, the documents sought by Plaintiffs in discovery included the

“specifications” for: (i) The manufacturing methods of making the accused products and (ii) the

results of the manufacturing, i.e., the EDM wires themselves.

       7.      It should also be noted that Defendants’ document requests included two requests

for documents concerning “infringe[ment]” of the patents in suit, namely request nos. 3 and 4.

See Exhibit E. Those requests also require production of the specifications and related

documents for both the manufacturing method(s) and the structure and components of

Defendants’ EDM wires.

       8.      Plaintiffs served their first sets of document requests on Defendants on October

23, 2015. See Exhibit G. Defendants’ document request responses were served on Plaintiffs on

November 25, 2015. See Exhibit H (excerpts of Defendants’ document request responses).

Defendants’ November 25, 2015 responses merely interjected objections and made promises to

produce responsive documents at an unspecified later date. Id. The timing of Defendants’

production of responsive documents is discussed below.



                                                4
    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 5 of 9 PageID #:599



         9.    Plaintiffs served another set of discovery requests to obtain samples of

Defendants’ accused EDM wire products on March 16, 2016. See Exhibit I. On April 11,

2016. The Inter Partes Review proceedings regarding the patents in suit were initiated and so

this case was stayed. Those proceedings ended on September 11, 2017, when this Court set a

new schedule for resumption of this case. Most responsive product samples were served by

Defendants on Plaintiffs on November 10, 2017. The samples are discussed in paragraph 11

below.

         10.   Defendants served “SUPPLEMENTAL” responses to Plaintiffs’ October 23, 2015

document requests on January 17, 2018, slightly changing Defendants’ objections. See Exhibit

J. (The “SUPPLEMENTAL” document request responses were served two days before

Plaintiffs’ FICs were originally due on January 19, 2018. Therefore, those responses would not

have been timely received by Plaintiffs even if the responses had provided responsive documents

including responsive information required by the FIC’s. In any event, the “SUPPLIEMENTAL”

responses provided no substantive information/documents whatsoever.)

         11.   After Plaintiffs’ requested and received sample wires on March 16, 2016,

Defendants produced samples of most of their allegedly infringing EDM wire products on

November 10, 2017 (after the intervening IPR proceedings in the Patent Trial and Appeal Board

and after a renewal of the request for samples by Plaintiffs). Plaintiffs’ technical expert and his

assistants took cross-sectional photographs of the EDM products that are provided and

referenced in the FICs attached hereto as Exhibit A.

         12.   The foregoing was the extent of Defendants’ discovery responses until January

12, 2018, when Defendants produced in electronic form what has been estimated by Plaintiffs to

be more than 200,000 pages of documents. Plaintiffs have been able to categorize about two



                                                 5
    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 6 of 9 PageID #:600



thirds of Defendants’ documents since then and have found no documents regarding the

requested method of manufacturing specifications and the EDM product specifications. Some of

the produced documents are password protected. Defendants did not produce a password until

February 21, 2018. Plaintiffs have not yet determined if the password works to access all of the

password protected files.

       13.     In their partial review of Defendants’ approximately 200,000 pages of documents,

Plaintiffs discovered references to additional EDM wire products of Defendants. Those products

were not previously produced and have not been produced to date despite demands for

production. Defendants’ have indicated that they need not produce those samples in a letter

dated February 12, 2018, claiming that those EDM wires were not sold into the U.S. Plaintiffs

disagree with that position. Plaintiffs respectfully submit that Defendants cannot appropriately

refuse to produce product samples that depend upon a factual showing to establish that the

samples are not relevant to this case. Furthermore, Plaintiffs have evidence establishing sales of

at least some of those requested samples into the United States, despite Defendants

representations to the contrary.

       14.     Defendants complain that Plaintiffs’ FICs are “incomplete … to such an extent

that it makes Defendants’ Final Non-infringement Contentions impossible to complete in any

meaningful way.” While Plaintiffs dispute Defendants’ claim, pursuant to a telephone call on

February 20, 2018, and subsequent emails, Plaintiffs’ counsel informed Defendants’ counsel

that Plaintiffs do not object to Defendants not serving their non-infringement, unenforceability

and invalidity contentions due on February 21, 2018, in anticipation of the then-contemplated

motion. Plaintiffs still believe that Defendants should be permitted to provide their LPR 3.2

contentions under the schedule proposed below.



                                                 6
      Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 7 of 9 PageID #:601



        15.     Plaintiffs believe that neither the Parties nor the Court will be prejudiced by this

requested extension of case deadlines.

        WHEREFORE, Plaintiffs, respectfully request that the Court enter an Order extending

the current case deadlines by about 90 days as follows:

        (i)     Final infringement contentions by Plaintiffs, LPR 3.1 – Due April 19, 2018
                (previously 1/19/18);

        (ii)    Final Non-Infringement, Enforceability, Invalidity Contentions by Defendants;
                LPR 3.2 – Due May 21, 2018 (previously 2/21/2018);

        (iii)   Exchange Claim Terms Needing Construction by the Parties; LPR 4.1 – Due
                June 20, 2018 (previously 3/19/18);

        (iv)    Defendants' Opening Claim Construction Brief (Markman Hearing); LPR 4.2 –
                Due July 20, 2018 (previously 4/18/2018);

        (v)     Fact Discovery under LPR 1.3 Completed – Due July 10, 2018 (previously
                4/9/18);

        (vi)    Status Hearing – TBD by the Court; and

        (vii)   Remainder of Schedule – TBD by the Court.


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    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 8 of 9 PageID #:602



Respectfully submitted, this 2nd day of March 2018.

 By: /s/ Mark L. Sutton
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                                                8
    Case: 1:15-cv-02234 Document #: 89 Filed: 03/02/18 Page 9 of 9 PageID #:603



                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that, on this 2nd day of March 2018, the

foregoing was electronically filed with the Clerk of the Court using the CM/ECF system, which

will send a notice of electronic filing to CM/ECF participants in this case.



                                                      By: /s/         Samuel S. Bae

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                                                 9
